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                                                                                 COURTESY COPY

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14                                UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16

17                                                           CASE NO. 3:23-MC-80148-PHK
      In Re Ex Parte Application of
18                                                           [MAGISTRATE JUDGE PETER H. KANG]
      Path Network, Inc. and Tempest Hosting,
19    LLC,                                                   JOINT STIPULATION AND
                                                             [PROPOSED] ORDER
20                       Applicants.
21

22           Pursuant to the Court’s November 22, 2023 order (ECF No. 23) (“Order”), Applicants Path
23   Network, Inc. (“Path”) and Tempest Hosting, LLC (“Tempest”) (collectively “Applicants”) and
24   Respondent Discord Inc. (“Discord”; collectively, the “Parties”) hereby stipulate as follows:
25           1.     On November 28, 2023, and December 14, 2023, counsel for the Parties met and
26   conferred telephonically to discuss the terms of a revised subpoena that would comply with the
27   Court’s November 22, 2023 order (the “Revised Discord Subpoena”).
28
                                                         1
                                       JOINT STIPULATION AND [PROPOSED] ORDER
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 1             2.   Counsel for the Parties agreed that the Revised Discord Subpoena will include the

 2    following requests:

 3                  •   1) All account data, not including the contents of electronic
                        communications, associated with Curtis Gervais, including any aliases,
 4                      usernames or Discord tags he used, such as cmg#82391;
 5
                    •   2) All account data, not including the contents of electronic
 6                      communications, associated with Rene Roosen, including any aliases,
                        usernames or Discord tags he used, such as Renual#7394;
 7
                    •   3) All account data, not including the contents of electronic
 8                      communications, associated with Archetype#8484;
 9                  •   4) Roosen, Gervais and Archetype#8484’s login history for any and all
10                      Discord accounts, including but not limited to cmg#8239, Renual#7394,
                        and Archetype#8484; and
11
                    •   5) Any and all headers of messaging data associated with any of Roosen,
12                      Gervais, or Archetype#8484’s Discord account(s) including cmg#8239,
                        Renual#7394 and Archetype#8484.
13

14             3.   Counsel for the Parties also agreed that the Revised Discord Subpoena will include

15    detailed definitions of its terms, including but not limited to definitions of “Account Data,”

16    “Header,” and additional information that Discord can use to identify accounts associated with

17    Curtis Gervais and Rene Roosen, such that Discord will not conduct a search and production that

18    is unduly burdensome or overbroad. This additional information includes that required to register

19    with Discord, such as a user’s first and last name, email, and birth date. To the extent Applicants

20    have additional information that will help guide Discord’s search and production, Applicants will

21    include it in the “Identifying Information” section of the Revised Discord Subpoena. To be clear,

22    although Applicants have Mr. Roosen’s birth month and year, they do not have access to his

23    specific birth date.

24             4.   The additional identifying information in the Revised Discord Subpoena will include

25    the identifying information that Applicants’ counsel sent to Discord’s counsel on August 17, 2023,

26    which Discord previously used to preserve responsive data.

27             5.   Attached hereto as Exhibit 1 is the Revised Discord Subpoena.

28
                                                       2
                                     JOINT STIPULATION AND [PROPOSED] ORDER
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 1              6.    The Parties agree that the Revised Discord Subpoena is consistent with the Stored

 2    Communications Act and the Court’s Order.

 3              7.    Applicants request (to which Discord does not object) that the Court issue the

 4    Revised Discord Subpoena consistent with the Court’s Order.

 5              8.    The Parties agree that once the Court issues the instant Joint Proposed Stipulation

 6    and Proposed Order, including Exhibit 1, the Revised Discord Subpoena will also be deemed

 7    issued.

 8              9.    The Parties agree that Discord will produce documents responsive to the Revised

 9    Discord Subpoena electronically such that travel is not required. To the extent the Court requires

10    Discord to produce any responsive documents in hard copy, Applicants will travel to Discord’s

11    headquarters in San Francisco, California to ensure compliance with Federal Rule of Civil

12    Procedure 45(c)(2)(A) and the Court’s orders.

13              10.   The Parties agree that Discord’s production will occur no more than 30 days after

14    the Court issues the Revised Discord Subpoena.

15              IT IS SO STIPULATED.

16    DATED: December 21, 2023.                          By: /s/ Hannah A. Bogen
                                                         Rita M. Haeusler
17                                                       Hannah A. Bogen
                                                         Hughes Hubbard and Reed LLP
18                                                       Attorneys for Applicants Path Network, Inc.
19                                                       and Tempest Hosting, LLC

20    DATED: December 21, 2023.                          By: /s/ Nury M. Siekkinen
                                                         Nury M. Siekkinen
21                                                       Zwillgen PLLC
                                                         Attorney for Respondent Discord, Inc.
22

23
      PURSUANT TO THE ABOVE STIPULATION, IT IS SO ORDERED.
24

25    DATED: December
             ____________,
                       22 2023.
26

27
                                                             United States Magistrate Judge
28                                                           Peter H. Kang
                                                         3
                                      JOINT STIPULATION AND [PROPOSED] ORDER
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                                       Exhibit 1




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of __________

                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 23-mc-80148-PHK
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 23-mc-80148-PHK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                    ATTACHMENT A TO SUBPOENA TO DISCORD INC.

Production: YOU ARE COMMANDED to produce within 30 days of the issuance of the
Revised Discord Subpoena attached hereto the following documents, electronically stored
information, or objects, and to permit inspection, copying, testing, or sampling of the material:

1) All account data, not including the contents of electronic communications, associated
with Curtis Gervais, including any aliases, usernames or Discord tags he used, such as
cmg#82391;

2) All account data, not including the contents of electronic communications, associated
with Rene Roosen, including any aliases, usernames or Discord tags he used, such as
Renual#7394;

3) All account data, not including the contents of electronic communications, associated
with Archetype#8484;

4) Roosen, Gervais and Archetype#8484’s login history for any and all Discord accounts,
including but not limited to cmg#8239, Renual#7394, and Archetype#8484; and

5) Any and all headers of messaging data associated with any of Roosen, Gervais, or
Archetype#8484’s Discord account(s) including cmg#8239, Renual#7394 and
Archetype#8484.

                                         DEFINITIONS

    •   “Account data” includes a user’s first and last name, email address, birthdate, and any
        other non-content records for a specific user, including but not limited to the servers and
        channels they maintain or join.

    •   “Header” includes the name and Discord username / tag of the sender, recipient, and any
        copied or blind copied recipients in a particular Discord direct message, and the date and
        time that message was sent and/or received. Senders, recipients, those copied, and/or
        blind copied on messages include the recipients or viewers of direct messages on the
        Discord platform.

                               IDENTIFYING INFORMATION

       The list of identifying information below represents the universe of identifying
information which Applicants have provided to Discord.

Curtis Gervais

    •   Mr. Gervais is a Discord user who was born on March 16, 1998.

    •   Mr. Gervais is associated with one or more of the following emails:


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                                                                                                    2

                  o   deesnutiam@protonmail.com
                  o   ca@metaltux.com
                  o   curtis@thegeekbin.com
                  o   curtis@veilios.com
                  o   curtis@path.net

    •   Mr. Gervais’s address is 1310 Concession 1B Dalhousie Road, Lanark, Ontario.

    •   Mr. Gervais’s company, Packet Rabbit Inc. has a data center located at 2900
        Avenue Marie Curie, Saint-Laurent, Quebec, H4S 2C2.

    •   Mr. Gervais is also suspected to use the following aliases, which the Court listed in its
        previous orders:
               o cmg
               o wdmg
               o Dees Nutiam
               o Johnaton Gater
               o Archetype
               o Veilos
               o Veilos Hosting, LLC

Rene Roosen

    •   Mr. Roosen was born in December of 1996.

    •   One of Mr. Roosen’s potential home addresses is 1515 Round Table Drive, Dallas, TX,
        75247-3509.

    •   Mr. Roosen is also suspected to use the following aliases, which the Court listed in its
        previous orders:
               o Rene Roosen a.k.a. Renaul Roosen
               o Ryzor a.k.a. RyzOr
               o Game Server Kings a.k.a. GSK
               o “Archetype”




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